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                          US 8,926,490




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    US 8,926,490, Claim 1       Infringing Activity
    1. A system for             The preamble is not a limitation. To the extent that Defendant asserts
    treating depression in      that it is a limitation, the evidence appearing on Brain Frequency’s
    a subject comprising:       website (brainfrequency.ai) and on customer websites regarding using
                                the Brain Frequency technology confirms that Defendant makes,
                                provides, sells, and induces the infringing use by customers of a system
                                for treating depression in a subject according to claim 1. 1




                                https://brainfrequency.ai/overview




1
 The Brain Frequency website lists “locations” in four states: Gladden Longevity in Texas
(https://www.gladdenlongevity.com/ and https://brainfrequencydallas.com/), Live In Alignment in California
(https://www.liveinalignment.org/), BioMed Scottsdale in Arizona (https://thebiomedcenter.com/), and Energy4Life
Centers in Utah (https://energy4lifecenters.com/).

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US 8,926,490, Claim 1   Infringing Activity




                        https://brainfrequency.ai/overview




                        https://brainfrequency.ai/provider-faqs-1




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US 8,926,490, Claim 1    Infringing Activity




                         https://brainfrequencydallas.com/welcome1




                         https://energy4lifecenters.com/brain-health/

a magnetic field         Information appearing on Brain Frequency’s website, and the TMS
generator adapted to     manufacturer website/product sheets confirm a magnetic field generator
apply a magnetic field   adapted to apply a magnetic field to a head of the subject.
to a head of the
subject, wherein the

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US 8,926,490, Claim 1   Infringing Activity
magnetic field
generator comprises:




                        https://brainfrequency.ai/patient-faqs




                        https://brainfrequency.ai/patient-faqs




                        https://brainfrequency.ai/affiliate-program




                        https://brainfrequency.ai/provider-faqs-1




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US 8,926,490, Claim 1   Infringing Activity




                        https://brainfrequency.ai/overview




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US 8,926,490, Claim 1   Infringing Activity




                        “Brain Frequency for Substance Use Disorder” video at Brain Frequency
                        YouTube page: https://www.youtube.com/watch?v=ZT4CgJxgb5c.




                        “Brain Frequency for Substance Use Disorder” video at Brain Frequency
                        YouTube page: https://www.youtube.com/watch?v=ZT4CgJxgb5c.




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US 8,926,490, Claim 1      Infringing Activity
                           MagVenture, 2022 Product Catalog, p. 30.




                           MagVenture, 2022 Product Catalog, p. 33.

                           Customer websites also describe application of frequencies (magnetic
                           fields) to the head of a subject. See screenshots, supra, from
                           https://brainfrequencydallas.com/welcome1.
                           https://energy4lifecenters.com/brain-health/
                           https://thebiomedcenter.com/

a) a non-transitory        Information appearing on Brain Frequency’s website and on customer
computer readable          websites using the Brain Frequency technology confirms a non-transitory
medium containing a        computer readable medium containing a subject data value comprising a
subject data value         first intrinsic frequency of a brain of the subject within a specified EEG
comprising                 band.
i) a first intrinsic
frequency of a brain of
the subject within a
specified EEG band,
ii) a Q-factor of the
first intrinsic
frequency,
iii) a coherence value
of a second intrinsic
frequency and a third
intrinsic frequency,
wherein the second
and third intrinsic
frequencies are from
two different sites in
the brain of the subject
within the specified       https://brainfrequency.ai/why-are-we-different%3F-1
EEG band, or
BN 79057922v1                Wave NeuroScience, Inc. v. Brain Frequency, LLC                   8
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US 8,926,490, Claim 1 Infringing Activity
iv) an EEG phase
between two sites in
the brain of the subject
of a specified EEG
frequency, wherein the
two sites are different;
and




                          https://brainfrequency.ai/why-are-we-different%3F-1

                         Customer websites confirm the use of systems that include non-transitory
                         computer readable medium containing subject data values (e.g., brain
                         mapping,” and “brain optimization”). See screenshots, supra, from
                         https://brainfrequencydallas.com/welcome1.
                         https://energy4lifecenters.com/brain-health/
                         https://thebiomedcenter.com/
b) a processor           Information appearing on Brain Frequency’s website and on customer
configured to control    websites using the Brain Frequency technology confirms a processor
the magnetic field       configured to control the magnetic field based on said subject data value,
based on said subject    wherein the magnetic field is configured to move the first intrinsic
data value, wherein the frequency in a pre-selected direction, up or down, within the specified
magnetic field is        EEG band using said magnetic field.
configured to
i) move the first
intrinsic frequency in a
pre-selected direction,
up or down, within the
specified EEG band
using said magnetic
field,
ii) move the Q-factor
of the first intrinsic
frequency in a pre-
selected direction, up
or down, within the
specified EEG band
using the magnetic
field,


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US 8,926,490, Claim 1      Infringing Activity
iii) move the coherence    https://brainfrequency.ai/why-are-we-different%3F-1
value by applying the
magnetic field and a
second magnetic field
that is asynchronous
with the magnetic field
close to the head of the
subject and reducing
the coherence value, or
by applying the
magnetic field and the
second magnetic field
that is synchronized
with the magnetic field
close to the head of the
subject and raising the
coherence value, or
iv) move the EEG
phase of the specified
EEG frequency,
wherein the magnetic
field comprises a first
magnetic field that is     https://brainfrequency.ai/eeg-%26-assessments
in-phase with the
second magnetic field
or a first magnetic
field that is out of
phase with the second
magnetic field; and




                           https://brainfrequency.ai/patient-faqs




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US 8,926,490, Claim 1   Infringing Activity




                        https://brainfrequency.ai/patient-faqs




                        https://brainfrequency.ai/why-are-we-different%3F-1#c8ee53a4-5885-
                        4b67-9b4c-1f504d8f9653




                        “The EEG uncovers areas of low energy and with that information we
                        can specifically treat 3 or 4 separate areas of the brain with an
                        individual target frequency at each therapy session.”

                        “Treatment Process – Brain Frequency™” video,
                        https://brainfrequency.ai/treatment-process



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US 8,926,490, Claim 1   Infringing Activity
                        Customer websites confirm the use of systems that include a processor
                        configured to control the magnetic field based on said subject data value,
                        (e.g., “brain mapping,” and “brain optimization”). See screenshots,
                        supra, from https://brainfrequencydallas.com/welcome1.
                        https://energy4lifecenters.com/brain-health/
                        https://thebiomedcenter.com/

                        The Brain Frequency Center website confirms that the magnetic field is
                        configured to move the first intrinsic frequency in a pre-selected
                        direction, up or down, within the specified EEG band using said
                        magnetic field.




                        https://brainfrequencycenter.com/case-studies/morgan-34-year-old-
                        lawyer-with-ptsd

                        In a podcast, Brain Frequency founder and member Shannon Malish
                        further confirms that the magnetic field is configured to move the first
                        intrinsic frequency in a pre-selected direction, up or down, within the
                        specified EEG band using said magnetic field.

                        See, e.g., Gladden Longevity Podcast, Nov. 2022, “Is this how you fix
                        your brain once and for all?” (in which Ms. Malish explains the
                        development of and treatment of patients using Brain Frequency’s
                        techniques) (available at https://gladdenlongevitypodcast.com/episodes,
                        and https://gladdenlongevitypodcast.com/episodes/f/is-this-how-you-fix-
                        your-brain-once-and-for-all and
                        https://open.spotify.com/episode/1tYFdD61I7dN4nvD7YrKKK?si=ef34f
                        adb30054a80)



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US 8,926,490, Claim 1    Infringing Activity
wherein the magnetic     Information appearing on Brain Frequency’s website and on customer
field increases the      websites using the Brain Frequency technology confirms a magnetic field
blood flow of a cortex   increases blood flow of a cortex of the brain or decreases the blood flow
of the brain or          of a lower region of the brain.
decreases the blood
flow of a lower region
of the brain.




                         https://brainfrequency.ai/overview




                         “The EEG uncovers areas of low energy and with that information we
                         can specifically treat 3 or 4 separate areas of the brain with an
                         individual target frequency at each therapy session.”

                         “Treatment Process – Brain Frequency™” video,
                         https://brainfrequency.ai/treatment-process

                         Customer websites confirm the use of systems that include wherein the
                         magnetic field increases the blood flow of a cortex of the brain or
                         decreases the blood flow of a lower region of the brain, (e.g., “brain
                         mapping,” and “brain optimization”).

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US 8,926,490, Claim 1     Infringing Activity




                          https://thebiomedcenter.com/about/#loc_slide1

                          See screenshots, supra, from
                          https://brainfrequencydallas.com/welcome1.
                          https://energy4lifecenters.com/brain-health/
                          https://thebiomedcenter.com/



US 8,926,490, Claim 8     Infringing Activity
The system of claim 1,    Information appearing on Brain Frequency’s website and on customer
further comprising        websites using the Brain Frequency technology confirms a processor
logic configured to       configured to automatically change the intrinsic frequency in response to
automatically change      EEG readings of a subject during treatment.
the intrinsic frequency
in response to EEG


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US 8,926,490, Claim 8   Infringing Activity
readings of a subject
during treatment.




                        https://brainfrequency.ai/why-are-we-different%3F-1




                        https://brainfrequency.ai/eeg-%26-assessments




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US 8,926,490, Claim 8   Infringing Activity




                        https://brainfrequency.ai/patient-faqs




                        https://brainfrequency.ai/patient-faqs




                        https://brainfrequency.ai/why-are-we-different%3F-1#c8ee53a4-5885-
                        4b67-9b4c-1f504d8f9653




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US 8,926,490, Claim 8   Infringing Activity




                        “The EEG uncovers areas of low energy and with that information we
                        can specifically treat 3 or 4 separate areas of the brain with an
                        individual target frequency at each therapy session.”

                        “Treatment Process – Brain Frequency™” video,
                        https://brainfrequency.ai/treatment-process

                        Customer websites confirm the use of systems that include a processor
                        configured to automatically change the intrinsic frequency in response to
                        EEG readings of a subject during treatment. (e.g., “brain mapping,” and
                        “brain optimization”). See screenshots, supra, from
                        https://brainfrequencydallas.com/welcome1.
                        https://energy4lifecenters.com/brain-health/
                        https://thebiomedcenter.com/

                        The Brain Frequency Center website confirms that the magnetic field is
                        configured to automatically change the intrinsic frequency in response to
                        EEG readings of a subject during treatment.




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US 8,926,490, Claim 8     Infringing Activity




                          https://brainfrequencycenter.com/case-studies/morgan-34-year-old-
                          lawyer-with-ptsd

                          In a podcast, Brain Frequency founder and member Shannon Malish
                          further confirms that the magnetic field is configured to automatically
                          change the intrinsic frequency in response to EEG readings of a subject
                          during treatment.

                          See, e.g., Gladden Longevity Podcast, Nov. 2022, “Is this how you fix
                          your brain once and for all?” (in which Ms. Malish explains the
                          development of and treatment of patients using Brain Frequency’s
                          techniques) (available at https://gladdenlongevitypodcast.com/episodes,
                          and https://gladdenlongevitypodcast.com/episodes/f/is-this-how-you-fix-
                          your-brain-once-and-for-all and
                          https://open.spotify.com/episode/1tYFdD61I7dN4nvD7YrKKK?si=ef34f
                          adb30054a80)


US 8,926,490, Claim 9     Infringing Activity
The system of claim 1,    Information appearing on Brain Frequency’s website and on customer
further comprising        websites using the Brain Frequency technology confirms logic
logic configured to       configured to calculate the subject data value from EEG data collected
calculate the subject     from the subject.
data value from EEG
data collected from the
subject.




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US 8,926,490, Claim 9   Infringing Activity




                        https://brainfrequency.ai/why-are-we-different%3F-1




                        https://brainfrequency.ai/eeg-%26-assessments




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US 8,926,490, Claim 9   Infringing Activity




                        https://brainfrequency.ai/patient-faqs




                        https://brainfrequency.ai/patient-faqs




                        https://brainfrequency.ai/why-are-we-different%3F-1#c8ee53a4-5885-
                        4b67-9b4c-1f504d8f9653




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US 8,926,490, Claim 9   Infringing Activity




                        “The EEG uncovers areas of low energy and with that information we
                        can specifically treat 3 or 4 separate areas of the brain with an
                        individual target frequency at each therapy session.”

                        “Treatment Process – Brain Frequency™” video,
                        https://brainfrequency.ai/treatment-process

                        Customer websites confirm logic configured to calculate the subject data
                        value from EEG data collected from the subject (e.g., “brain mapping,”
                        and “brain optimization”). See screenshots, supra, from
                        https://brainfrequencydallas.com/welcome1.
                        https://energy4lifecenters.com/brain-health/
                        https://thebiomedcenter.com/

                        The Brain Frequency Center website confirms logic configured to
                        calculate the subject data value from EEG data collected from the
                        subject.




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US 8,926,490, Claim 9       Infringing Activity




                            https://brainfrequencycenter.com/case-studies/morgan-34-year-old-
                            lawyer-with-ptsd


US 8,926,490, Claim 10      Infringing Activity
The system of claim 1,      Information appearing on Brain Frequency’s website confirms a first
further comprising: (a)     electrode operable to detect electrical brain activity; and (b) a second
a first electrode           electrode operable to detect a reference signal; wherein the first electrode
operable to detect          is adapted to be located on the subject in at least one of: an area of low
electrical brain            electrical resistivity on said subject, and an area with substantially no
activity; and (b) a         electrical impulse interference on said subject, and wherein the second
second electrode            electrode is adapted to be located on the subject.
operable to detect a
reference signal;
wherein the first
electrode is adapted to
be located on the
subject in at least one
of: an area of low
electrical resistivity on
said subject, and an
area with substantially
no electrical impulse
interference on said
subject, and wherein
the second electrode is
adapted to be located
on the subject.


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US 8,926,490, Claim 10 Infringing Activity




                        https://brainfrequency.ai/why-are-we-different%3F-1




                        https://brainfrequency.ai/eeg-%26-assessments




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US 8,926,490, Claim 10 Infringing Activity




                        https://brainfrequency.ai/patient-faqs




                        https://brainfrequency.ai/patient-faqs




                        https://brainfrequency.ai/why-are-we-different%3F-1#c8ee53a4-5885-
                        4b67-9b4c-1f504d8f9653




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                        US 10,029,111




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    US 10,029,111, Claim 1      Infringing Activity
    A method of                 The preamble is not a limitation. To the extent that Defendant asserts that
    improving a                 it is a limitation, the evidence appearing on Brain Frequency’s website
    physiological condition     (brainfrequency.ai), on the TMS manufacturer’s website and product
    or a neuropsychiatric       sheets, and on customer websites regarding using the Brain Frequency
    condition of a mammal       technology confirms that Defendant induces the infringing use by
    which comprises             customers of a method of improving a physiological condition or a
                                neuropsychiatric condition according to claim 1. 2




                                https://brainfrequency.ai/overview




2
 The Brain Frequency website lists “locations” in four states: Gladden Longevity in Texas
(https://www.gladdenlongevity.com/ and https://brainfrequencydallas.com/), Live In Alignment in California
(https://www.liveinalignment.org/), BioMed Scottsdale in Arizona (https://thebiomedcenter.com/), and Energy4Life
Centers in Utah (https://energy4lifecenters.com/).

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US 10,029,111, Claim 1 Infringing Activity




                        https://brainfrequency.ai/why-are-we-different%3F-1#c8ee53a4-5885-
                        4b67-9b4c-1f504d8f9653




                        https://brainfrequency.ai/why-are-we-different%3F-1#c8ee53a4-5885-
                        4b67-9b4c-1f504d8f9653




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US 10,029,111, Claim 1 Infringing Activity
                       https://brainfrequency.ai/overview




                         https://brainfrequency.ai/provider-faqs-1




                         https://brainfrequencydallas.com/welcome1

                         Customer websites confirm that they use the Brain Frequency technology
                         and methods. See screenshots, supra, from
                         https://brainfrequencydallas.com/welcome1.
                         https://energy4lifecenters.com/brain-health/
                         https://thebiomedcenter.com/
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US 10,029,111, Claim 1 Infringing Activity

subjecting the          Information appearing on Brain Frequency’s website, on an affiliate’s
mammal to repetitive    website using the Brain Frequency technology, and on the TMS
transcranial magnetic   manufacturer’s website confirm that a human is subjected to rTMS.
stimulation (rTMS)




                        https://brainfrequency.ai/patient-faqs




                        https://brainfrequency.ai/patient-faqs




                        https://brainfrequency.ai/affiliate-program




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US 10,029,111, Claim 1 Infringing Activity




                        https://brainfrequency.ai/provider-faqs-1




                        https://brainfrequency.ai/overview




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US 10,029,111, Claim 1 Infringing Activity




                        “Brain Frequency for Substance Use Disorder” video at Brain Frequency
                        YouTube page:
                        https://www.youtube.com/watch?v=ZT4CgJxgb5c.




                        “Brain Frequency for Substance Use Disorder” video at Brain Frequency
                        YouTube page:
                        https://www.youtube.com/watch?v=ZT4CgJxgb5c.




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US 10,029,111, Claim 1 Infringing Activity




                         MagVenture, 2022 Product Catalog, p. 30.




                         MagVenture, 2022 Product Catalog, p. 33.

                         Customer websites confirm that they use the Brain Frequency technology
                         and methods. See screenshots, supra, from
                         https://brainfrequencydallas.com/welcome1.
                         https://energy4lifecenters.com/brain-health/
                         https://thebiomedcenter.com/

at a frequency of a    Information appearing on the Brain Frequency website confirms at a
non-EEG biological     frequency of a non-EEG biological metric, or an harmonic or sub-
metric, or an harmonic harmonic of said non-EEG biological metric.
or sub-harmonic of
said non-EEG
biological metric,




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US 10,029,111, Claim 1 Infringing Activity




                        https://brainfrequency.ai/affiliate-program




                        “The EEG uncovers areas of low energy and with that information we
                        can specifically treat 3 or 4 separate areas of the brain with an
                        individual target frequency at each therapy session.”

                        “Treatment Process – Brain Frequency™” video,
                        https://brainfrequency.ai/treatment-process

                        A patent application that names Shannon Malish, founder and member of
                        Brain Frequency as an inventor (Appl. No.: 17/811,053; Pub. No. US
                        2022/0355125 A1; the “’125 Publication”) confirms at a frequency of a
                        non-EEG biological metric, or an harmonic or sub-harmonic of said non-
                        EEG biological metric.

                        “Specifically, a Target Frequency is an Alpha wave frequency at which a
                        subject's brain should be operating optimally in maximum of the EEG
                        channels when functioning normally. A Target Frequency may be about
                        7 Hz-13 Hz, about 8-12 Hz, about 9-11 Hz, or the like. Optionally, the

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US 10,029,111, Claim 1 Infringing Activity
                       Target Frequency for a subject may be determined by taking the average
                       PSD values across all EEG channels and aligning this average with the
                       nearest Heart Rate Frequency (as discussed below with respect to FIGS.
                       9A and 9B).” ’125 Publication, paragraph [0036].

                         “As such the treatment protocols are determined to move the
                         Homeostatic frequency 903 (and/or the Greatest Frequency of each
                         channel) towards the Target Frequency 904. Optionally, a heart rate
                         artifact (902) may be observed and discarded if the peak frequencies for
                         all or substantially all of the channels are aligned with a heart rate peak.
                         Such heart rate artifacts may be indicative of a strong heartrate that
                         appears to be overtaking the EEG.” ’125 Publication, paragraph [0171].

                         “Similarly, in FIG. 9B two homeostatic frequencies 914 (about 8.5 Hz)
                         and 916 (about 10.9) are observed which are between 8-12 Hz. As such,
                         the Target Frequency is determined as the heart rate peak 916 (e.g., about
                         9.5 Hz) that lies between 914 and 916.” ’125 Publication, paragraph
                         [0172].

                         “This new treatment protocol continues for two rounds of 10 treatments
                         which may include adjustment in the frequency depending on the EEG
                         and alignment of all leads with the heart rate (A2 lead). On this protocol,
                         only one treatment occurs over 24 hours.” ’125 Publication, paragraph
                         [0184].

wherein the mammal       Information appearing on Brain Frequency’s website and on customer
is a human.              websites using the Brain Frequency technology confirms human subjects.




                         https://brainfrequency.ai/overview


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US 10,029,111, Claim 1 Infringing Activity
                       Customer websites confirm that they use the Brain Frequency technology
                       and methods. See screenshots, supra, from
                       https://brainfrequencydallas.com/welcome1.
                       https://energy4lifecenters.com/brain-health/
                       https://thebiomedcenter.com/


US 10,029,111, Claim 2    Infringing Activity
The method of claim 1     The ’125 Publication confirms the non-EEG biological metric is heart
wherein the non-EEG       rate, respiratory rate, gastrointestinal movement rate.
biological metric is
heart rate, respiratory   “Specifically, a Target Frequency is an Alpha wave frequency at which a
rate, gastrointestinal    subject's brain should be operating optimally in maximum of the EEG
movement rate.            channels when functioning normally. A Target Frequency may be about
                          7 Hz-13 Hz, about 8-12 Hz, about 9-11 Hz, or the like. Optionally, the
                          Target Frequency for a subject may be determined by taking the average
                          PSD values across all EEG channels and aligning this average with the
                          nearest Heart Rate Frequency (as discussed below with respect to FIGS.
                          9A and 9B).” ’125 Publication, paragraph [0036].

                          “As such the treatment protocols are determined to move the
                          Homeostatic frequency 903 (and/or the Greatest Frequency of each
                          channel) towards the Target Frequency 904. Optionally, a heart rate
                          artifact (902) may be observed and discarded if the peak frequencies for
                          all or substantially all of the channels are aligned with a heart rate peak.
                          Such heart rate artifacts may be indicative of a strong heartrate that
                          appears to be overtaking the EEG.” ’125 Publication, paragraph [0171].

                          “Similarly, in FIG. 9B two homeostatic frequencies 914 (about 8.5 Hz)
                          and 916 (about 10.9) are observed which are between 8-12 Hz. As such,
                          the Target Frequency is determined as the heart rate peak 916 (e.g., about
                          9.5 Hz) that lies between 914 and 916.” ’125 Publication, paragraph
                          [0172].

                          “This new treatment protocol continues for two rounds of 10 treatments
                          which may include adjustment in the frequency depending on the EEG
                          and alignment of all leads with the heart rate (A2 lead). On this protocol,
                          only one treatment occurs over 24 hours.” ’125 Publication, paragraph
                          [0184].


US 10,029,111, Claim 3    Infringing Activity
The method of claim 1     The ’125 Publication confirms the rTMS frequency is equal to, or a
wherein the rTMS          harmonic or sub-harmonic of, a non-EEG biological metric that is closest
frequency is equal to,    to an intrinsic frequency in a desired EEG band.

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US 10,029,111, Claim 3     Infringing Activity
or a harmonic or sub-
harmonic of, a non-        “Specifically, a Target Frequency is an Alpha wave frequency at which a
EEG biological metric      subject's brain should be operating optimally in maximum of the EEG
that is closest to an      channels when functioning normally. A Target Frequency may be about
intrinsic frequency in a   7 Hz-13 Hz, about 8-12 Hz, about 9-11 Hz, or the like. Optionally, the
desired EEG band.          Target Frequency for a subject may be determined by taking the average
                           PSD values across all EEG channels and aligning this average with the
                           nearest Heart Rate Frequency (as discussed below with respect to FIGS.
                           9A and 9B).” ’125 Publication, paragraph [0036].

                           “This new treatment protocol continues for two rounds of 10 treatments
                           which may include adjustment in the frequency depending on the EEG
                           and alignment of all leads with the heart rate (A2 lead). On this protocol,
                           only one treatment occurs over 24 hours.” ’125 Publication, paragraph
                           [0184].


US 10,029,111, Claim 4     Infringing Activity
The method of claim 3      The ’125 Publication confirms the non-EEG biological metric is heart
wherein the non-EEG        rate.
biological metric is
heart rate.                “Specifically, a Target Frequency is an Alpha wave frequency at which a
                           subject's brain should be operating optimally in maximum of the EEG
                           channels when functioning normally. A Target Frequency may be about
                           7 Hz-13 Hz, about 8-12 Hz, about 9-11 Hz, or the like. Optionally, the
                           Target Frequency for a subject may be determined by taking the average
                           PSD values across all EEG channels and aligning this average with the
                           nearest Heart Rate Frequency (as discussed below with respect to FIGS.
                           9A and 9B).” ’125 Publication, paragraph [0036].

US 10,029,111, Claim 5     Infringing Activity
The method of claim 1      Information appearing on Brain Frequency’s website confirms the
wherein the                physiological condition is concentration, sleep, alertness, memory, blood
physiological condition    pressure, stress, libido, speech, motor function, physical performance,
is concentration, sleep,   cognitive function, intelligence, height or weight.
alertness, memory,
blood pressure, stress,
libido, speech, motor
function, physical
performance, cognitive
function, intelligence,
height or weight.




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US 10,029,111, Claim 5 Infringing Activity




                          https://brainfrequency.ai/overview


US 10,029,111, Claim 6    Infringing Activity
The method of claim 1
wherein the               Information appearing on Brain Frequency’s website and customer
neuropsychiatric          websites confirms the neuropsychiatric condition is Autism Spectrum
condition is Autism       Disorder (ASD), Alzheimer's disease, ADHD, schizophrenia, anxiety,
Spectrum Disorder         depression, coma, Parkinson's disease, substance abuse, bipolar disorder,
(ASD), Alzheimer's        a sleep disorder, an eating disorder, tinnitus, traumatic brain injury, post
disease, ADHD,            traumatic stress syndrome, chronic pain or fibromyalgia.
schizophrenia, anxiety,
depression, coma,
Parkinson's disease,
substance abuse,
bipolar disorder, a
sleep disorder, an
eating disorder,
tinnitus, traumatic
brain injury, post
traumatic stress
syndrome, chronic
pain or fibromyalgia.




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US 10,029,111, Claim 6 Infringing Activity




                        https://brainfrequency.ai/overview




                        https://brainfrequency.ai/why-are-we-different%3F-1#c8ee53a4-5885-
                        4b67-9b4c-1f504d8f9653




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US 10,029,111, Claim 6 Infringing Activity




                        https://brainfrequency.ai/why-are-we-different%3F-1#c8ee53a4-5885-
                        4b67-9b4c-1f504d8f9653




                        https://brainfrequency.ai/overview




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US 10,029,111, Claim 6 Infringing Activity




                          https://energy4lifecenters.com/brain-health/


US 10,029,111, Claim 7    Infringing Activity
The method of claim 3     Information appearing on Brain Frequency’s website confirms the
wherein the intrinsic     intrinsic frequency is in the delta band (<4 Hz), the theta band (4-8 Hz),
frequency is in the       the alpha band (8-13 Hz), the beta band (13-30 Hz), the gamma band
delta band (<4 Hz), the   (25-100 Hz), or the Mu band (8-13 Hz).
theta band (4-8 Hz),
the alpha band (8-13
Hz), the beta band (13-
30 Hz), the gamma
band (25-100 Hz), or
the Mu band (8-13
Hz).




                          https://brainfrequency.ai/why-are-we-different%3F-1




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US 10,029,111, Claim 7 Infringing Activity




                        https://brainfrequency.ai/eeg-%26-assessments




                        https://brainfrequency.ai/patient-faqs




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US 10,029,111, Claim 7 Infringing Activity




                        https://brainfrequency.ai/patient-faqs




                        https://brainfrequency.ai/why-are-we-different%3F-1#c8ee53a4-5885-
                        4b67-9b4c-1f504d8f9653

                        The ’125 Publication confirms the intrinsic frequency is in the delta band
                        (<4 Hz), the theta band (4-8 Hz), the alpha band (8-13 Hz), the beta band
                        (13-30 Hz), the gamma band (25-100 Hz), or the Mu band (8-13 Hz).

                        “Specifically, a Target Frequency is an Alpha wave frequency at which a
                        subject's brain should be operating optimally in maximum of the EEG
                        channels when functioning normally. A Target Frequency may be about
                        7 Hz-13 Hz, about 8-12 Hz, about 9-11 Hz, or the like. Optionally, the
                        Target Frequency for a subject may be determined by taking the average
                        PSD values across all EEG channels and aligning this average with the
                        nearest Heart Rate Frequency (as discussed below with respect to FIGS.
                        9A and 9B).” ’125 Publication, paragraph [0036].




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                            US 8,465,408




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    US 8,465,408 Claim 1        Infringing Activity
    A method of treating        The preamble is not a limitation. To the extent that Defendant asserts
    Parkinson's disease,        that it is a limitation, the evidence appearing on Brain Frequency’s
    treating coma, treating     website (brainfrequency.ai) and on customer websites regarding using
    post traumatic stress       the Brain Frequency technology confirms that Defendant makes,
    disorder (PTSD),            provides, sells, and induces the infringing use by customers of a method
    treating amblyopia,         for treating PTSD in a subject according to claim 1. 3
    and/or enhancing
    cognitive performance,
    in a subject,
    comprising:




                                https://brainfrequency.ai/overview




3
 The Brain Frequency website lists “locations” in four states: Gladden Longevity in Texas
(https://www.gladdenlongevity.com/ and https://brainfrequencydallas.com/), Live In Alignment in California
(https://www.liveinalignment.org/), BioMed Scottsdale in Arizona (https://thebiomedcenter.com/), and Energy4Life
Centers in Utah (https://energy4lifecenters.com/).

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US 8,465,408 Claim 1   Infringing Activity




                       https://brainfrequency.ai/overview




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US 8,465,408 Claim 1   Infringing Activity




                       https://brainfrequencydallas.com/welcome1




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US 8,465,408 Claim 1      Infringing Activity




                          https://thebiomedcenter.com/about/#loc_slide1

(a) adjusting a setting   Information appearing on Brain Frequency’s website, and the TMS
of a magnetic field       manufacturer website/product sheets confirm adjusting a setting of a
such that the magnetic    magnetic field.
field is configured to
do one or more of the
following:




                          https://brainfrequency.ai/patient-faqs




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US 8,465,408 Claim 1   Infringing Activity




                       https://brainfrequency.ai/patient-faqs




                       https://brainfrequency.ai/affiliate-program




                       https://brainfrequency.ai/provider-faqs-1




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                       https://brainfrequency.ai/overview




                       MagPro X100 Product Information Sheet, 03/23/2023.




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US 8,465,408 Claim 1   Infringing Activity




                       “Brain Frequency for Substance Use Disorder” video at Brain Frequency
                       YouTube page: https://www.youtube.com/watch?v=ZT4CgJxgb5c.




                       “Brain Frequency for Substance Use Disorder” video at Brain Frequency
                       YouTube page: https://www.youtube.com/watch?v=ZT4CgJxgb5c.




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US 8,465,408 Claim 1      Infringing Activity
                          MagVenture, 2022 Product Catalog, p. 30.




                          MagVenture, 2022 Product Catalog, p. 33.

                          Customer websites also describe adjusting a setting of a magnetic field. .
                          See screenshots, supra, from
                          https://brainfrequencydallas.com/welcome1.
                          https://energy4lifecenters.com/brain-health/
                          https://thebiomedcenter.com/


move an intrinsic         Information appearing on Brain Frequency’s website and on customer
frequency of a            websites using the Brain Frequency technology confirms moving an
specified EEG band of     intrinsic frequency of a specified EEG band of the subject toward a target
the subject toward a      intrinsic frequency of the specified EEG band using the magnetic field;
target intrinsic
frequency of the
specified EEG band
using the magnetic
field,

move a Q-factor of the
intrinsic frequency
toward a target Q-
factor of the intrinsic
frequency using the
magnetic field,

move a coherence
value of intrinsic
frequencies among
multiple sites in a       https://brainfrequency.ai/why-are-we-different%3F-1
brain of the subject
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US 8,465,408 Claim 1     Infringing Activity
within a specified EEG
band toward a target
coherence value using
the magnetic field
wherein if the
coherence value is
higher than the target
coherence value,
applying at least two
asynchronous
magnetic fields close to
the head of the subject,
and wherein if the
coherence value is
lower than the target    https://brainfrequency.ai/why-are-we-different%3F-1
coherence value,
applying at least one
synchronized magnetic
field close to the head
of the subject; and

move an EEG phase
between two sites in
the brain of a subject
of a specified EEG
frequency toward a
target EEG phase of
the specified EEG
frequency using the
magnetic field wherein
the magnetic field
comprises one or more
magnetic field
generators that are of
the same frequency
and are in-phase with
each other, of the same   https://brainfrequency.ai/eeg-%26-assessments
frequency and out of
phase with each other,
or a combination
thereof; and




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US 8,465,408 Claim 1   Infringing Activity




                       https://brainfrequency.ai/patient-faqs




                       https://brainfrequency.ai/patient-faqs




                       https://brainfrequency.ai/why-are-we-different%3F-1#c8ee53a4-5885-
                       4b67-9b4c-1f504d8f9653




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US 8,465,408 Claim 1   Infringing Activity




                       “The EEG uncovers areas of low energy and with that information we
                       can specifically treat 3 or 4 separate areas of the brain with an
                       individual target frequency at each therapy session.”

                       “Treatment Process – Brain Frequency™” video,
                       https://brainfrequency.ai/treatment-process


                       The Brain Frequency Center website confirms moving an intrinsic
                       frequency of a specified EEG band of the subject toward a target intrinsic
                       frequency of the specified EEG band using the magnetic field




                       https://brainfrequencycenter.com/case-studies/morgan-34-year-old-
                       lawyer-with-ptsd


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US 8,465,408 Claim 1     Infringing Activity
                         In a podcast, Brain Frequency founder and member Shannon Malish
                         further confirms moving an intrinsic frequency of a specified EEG band
                         of the subject toward a target intrinsic frequency of the specified EEG
                         band using the magnetic field.

                         See, e.g., Gladden Longevity Podcast, Nov. 2022, “Is this how you fix
                         your brain once and for all?” (in which Ms. Malish explains the
                         development of and treatment of patients using Brain Frequency’s
                         techniques) (available at https://gladdenlongevitypodcast.com/episodes,
                         and https://gladdenlongevitypodcast.com/episodes/f/is-this-how-you-fix-
                         your-brain-once-and-for-all and
                         https://open.spotify.com/episode/1tYFdD61I7dN4nvD7YrKKK?si=ef34f
                         adb30054a80)

(b) applying said        Information appearing on Brain Frequency’s website, on customer
magnetic field close to websites using the Brain Frequency technology, and on the TMS
the head of the subject. manufacturer website/product sheets confirm applying said magnetic
                         field close to the head of the subject.




                         https://brainfrequency.ai/patient-faqs




                         https://brainfrequency.ai/patient-faqs




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US 8,465,408 Claim 1   Infringing Activity




                       https://brainfrequency.ai/affiliate-program




                       https://brainfrequency.ai/provider-faqs-1




                       https://brainfrequency.ai/overview




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US 8,465,408 Claim 1   Infringing Activity




                       MagPro X100 Product Information Sheet, 03/23/2023.




                       “Brain Frequency for Substance Use Disorder” video at Brain Frequency
                       YouTube page: https://www.youtube.com/watch?v=ZT4CgJxgb5c.




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US 8,465,408 Claim 1   Infringing Activity




                       “Brain Frequency for Substance Use Disorder” video at Brain Frequency
                       YouTube page: https://www.youtube.com/watch?v=ZT4CgJxgb5c.




                       MagVenture, 2022 Product Catalog, p. 30.




                       MagVenture, 2022 Product Catalog, p. 33.


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US 8,465,408 Claim 1      Infringing Activity
                          Customer websites also describe applying said magnetic field close to the
                          head of the subject.. See screenshots, supra, from
                          https://brainfrequencydallas.com/welcome1.
                          https://energy4lifecenters.com/brain-health/
                          https://thebiomedcenter.com/




US 8,465,408 Claim 2      Infringing Activity
A method of treating      The preamble is not a limitation. To the extent that Defendant asserts
Parkinson's disease,      that it is a limitation, the evidence appearing on Brain Frequency’s
treating coma, treating   website (brainfrequency.ai) and on customer websites regarding using
post traumatic stress     the Brain Frequency technology confirms that Defendant makes,
disorder (PTSD),          provides, sells, and induces the infringing use by customers of a method
treating amblyopia,       for treating PTSD in a subject according to claim 1.
and/or enhancing
cognitive performance
in a subject,
comprising




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                       https://brainfrequency.ai/overview




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                       https://brainfrequency.ai/overview




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US 8,465,408 Claim 2   Infringing Activity




                       https://brainfrequencydallas.com/welcome1




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US 8,465,408 Claim 2      Infringing Activity




                          https://thebiomedcenter.com/about/#loc_slide1

moving at least one of:   Information appearing on Brain Frequency’s website and on customer
an intrinsic frequency    websites using the Brain Frequency technology confirms moving an
of a brain of the         intrinsic frequency within a specified EEG band of the subject toward a
subject within a          target intrinsic frequency within the specified EEG band by applying a
specified EEG band        magnetic field close to a head of the subject.
toward a pre-selected
intrinsic frequency
within the same
specified EEG band
and a Q-factor of the
intrinsic frequency
toward a target Q-
factor of the intrinsic
frequency, by applying
a magnetic field close


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US 8,465,408 Claim 2   Infringing Activity
to a head of the
subject,




                       https://brainfrequency.ai/why-are-we-different%3F-1




                       https://brainfrequency.ai/why-are-we-different%3F-1




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US 8,465,408 Claim 2   Infringing Activity




                       https://brainfrequency.ai/eeg-%26-assessments




                       https://brainfrequency.ai/patient-faqs




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                       https://brainfrequency.ai/patient-faqs




                       https://brainfrequency.ai/why-are-we-different%3F-1#c8ee53a4-5885-
                       4b67-9b4c-1f504d8f9653




                       “The EEG uncovers areas of low energy and with that information we
                       can specifically treat 3 or 4 separate areas of the brain with an
                       individual target frequency at each therapy session.”

                       “Treatment Process – Brain Frequency™” video,
                       https://brainfrequency.ai/treatment-process



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US 8,465,408 Claim 2       Infringing Activity
                           The Brain Frequency Center website confirms moving an intrinsic
                           frequency of a specified EEG band of the subject toward a target intrinsic
                           frequency of the specified EEG band using the magnetic field




                           https://brainfrequencycenter.com/case-studies/morgan-34-year-old-
                           lawyer-with-ptsd

                           In a podcast, Brain Frequency founder and member Shannon Malish
                           further confirms moving at least one of: an intrinsic frequency of a brain
                           of the subject within a specified EEG band toward a pre-selected intrinsic
                           frequency within the same specified EEG band and a Q-factor of the
                           intrinsic frequency toward a target Q-factor of the intrinsic frequency, by
                           applying a magnetic field close to a head of the subject.

                           See, e.g., Gladden Longevity Podcast, Nov. 2022, “Is this how you fix
                           your brain once and for all?” (in which Ms. Malish explains the
                           development of and treatment of patients using Brain Frequency’s
                           techniques) (available at https://gladdenlongevitypodcast.com/episodes,
                           and https://gladdenlongevitypodcast.com/episodes/f/is-this-how-you-fix-
                           your-brain-once-and-for-all and
                           https://open.spotify.com/episode/1tYFdD61I7dN4nvD7YrKKK?si=ef34f
                           adb30054a80)

wherein the magnetic       Information appearing on Brain Frequency’s website confirms the
field comprises at least   magnetic field comprises at least one of(a) a single target frequency
one of(a) a single         within the specified EEG band; (b) a plurality of frequencies within the
target frequency           specified EEG band; and (c) the intrinsic frequency of the brain of the
within the specified       subject within the specified EEG band.
EEG band; (b) a
plurality of frequencies

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US 8,465,408 Claim 2     Infringing Activity
within the specified
EEG band; and
(c) the intrinsic
frequency of the brain
of the subject within
the specified EEG
band.




                         “The EEG uncovers areas of low energy and with that information we
                         can specifically treat 3 or 4 separate areas of the brain with an
                         individual target frequency at each therapy session.”

                         “Treatment Process – Brain Frequency™” video,
                         https://brainfrequency.ai/treatment-process

                         The Brain Frequency Center website confirms moving an intrinsic
                         frequency of a specified EEG band of the subject toward a target intrinsic
                         frequency of the specified EEG band using the magnetic field




                         https://brainfrequencycenter.com/case-studies/morgan-34-year-old-
                         lawyer-with-ptsd



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US 8,465,408 Claim 2       Infringing Activity
                           In a podcast, Brain Frequency founder and member Shannon Malish
                           further confirms moving an intrinsic frequency of a specified EEG band
                           of the subject toward a target intrinsic frequency of the specified EEG
                           band using the magnetic field.

                           See, e.g., Gladden Longevity Podcast, Nov. 2022, “Is this how you fix
                           your brain once and for all?” (in which Ms. Malish explains the
                           development of and treatment of patients using Brain Frequency’s
                           techniques) (available at https://gladdenlongevitypodcast.com/episodes,
                           and https://gladdenlongevitypodcast.com/episodes/f/is-this-how-you-fix-
                           your-brain-once-and-for-all and
                           https://open.spotify.com/episode/1tYFdD61I7dN4nvD7YrKKK?si=ef34f
                           adb30054a80)




US 8,465,408 Claim 3       Infringing Activity
The method of claim 1      Information appearing on Brain Frequency’s website confirms the step of
or 2, further              measuring EEG data of the subject after the applying step.
comprising the step of
measuring EEG data
of the subject after the
applying step.




                           https://brainfrequency.ai/why-are-we-different%3F-1




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US 8,465,408 Claim 3   Infringing Activity




                       https://brainfrequency.ai/why-are-we-different%3F-1




                       https://brainfrequency.ai/eeg-%26-assessments




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US 8,465,408 Claim 3      Infringing Activity




                          https://brainfrequency.ai/patient-faqs




                          https://brainfrequency.ai/patient-faqs




US 8,465,408 Claim 4      Infringing Activity
The method of claim 1     Information appearing on Brain Frequency’s website confirms adjusting
or 2, further             frequency of said magnetic field based on the EEG data of the subject;
comprising the steps      and repeating the applying step with an adjusted frequency.
of: adjusting frequency
of said magnetic field
based on the EEG data
of the subject; and
repeating the applying
step with an adjusted
frequency.




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US 8,465,408 Claim 4   Infringing Activity




                       https://brainfrequency.ai/why-are-we-different%3F-1




                       https://brainfrequency.ai/why-are-we-different%3F-1




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US 8,465,408 Claim 4   Infringing Activity




                       https://brainfrequency.ai/eeg-%26-assessments




                       https://brainfrequency.ai/patient-faqs




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US 8,465,408 Claim 4     Infringing Activity




                         https://brainfrequency.ai/patient-faqs




US 8,465,408 Claim 9     Infringing Activity
The method of claim 1    Information appearing on Brain Frequency’s website confirms applying
or 2, wherein the step   the magnetic field is for about 5 minutes to about two hours.
of applying the
magnetic field is for
about 5 minutes to
about two hours.




US 8,465,408 Claim 10 Infringing Activity
The method of claim 1 Information appearing on Brain Frequency’s website confirms repeating
or 2, further           the applying step after an interval about 6 hours to about 14 days.
comprising repeating
the applying step after
an interval about 6
hours to about 14 days.




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US 8,465,408 Claim 10     Infringing Activity




US 8,926,490, Claim 11    Infringing Activity
The method of claim 1     Information appearing on Brain Frequency’s website confirms locating a
or 2, further             first electrode operable to detect electrical brain activity on the subject in
comprising: (a)           at least one of an area of low electrical resistivity on the subject, and an
locating a first          area with substantially no electrical impulse interference on the subject;
electrode operable to     (b) locating a second electrode operable to detect a reference signal on
detect electrical brain   the subject; and (c) determining the intrinsic frequency from the
activity on the subject   electrical brain activity detected by the first electrode and the reference
in at least one of an     signal detected by the second electrode.
area of low electrical
resistivity on the
subject, and an area
with substantially no
electrical impulse
interference on the
subject; (b) locating a
second electrode
operable to detect a
reference signal on the
subject; and (c)
determining the
intrinsic frequency
from the electrical
brain activity detected
by the first electrode
and the reference


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US 8,926,490, Claim 11 Infringing Activity
signal detected by the
second electrode.




                        https://brainfrequency.ai/why-are-we-different%3F-1




                        https://brainfrequency.ai/eeg-%26-assessments




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US 8,926,490, Claim 11 Infringing Activity




                        https://brainfrequency.ai/patient-faqs




                        https://brainfrequency.ai/patient-faqs




                        https://brainfrequency.ai/why-are-we-different%3F-1#c8ee53a4-5885-
                        4b67-9b4c-1f504d8f9653




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    US 8,465,408 Claim 12       Infringing Activity
    12. A device for use in     The preamble is not a limitation. To the extent that Defendant asserts
    treating Parkinson's        that it is a limitation, the evidence appearing on Brain Frequency’s
    disease, treating coma,     website (brainfrequency.ai) and on customer websites regarding using
    treating post traumatic     the Brain Frequency technology confirms that Defendant makes,
    stress disorder             provides, sells, and induces the infringing use by customers of a device
    (PTSD), treating            for use in treating PTSD in a subject according to claim 12. 4
    amblyopia, and/or
    enhancing cognitive
    performance in a
    subject, comprising:




                                https://brainfrequency.ai/overview




4
 The Brain Frequency website lists “locations” in four states: Gladden Longevity in Texas
(https://www.gladdenlongevity.com/ and https://brainfrequencydallas.com/), Live In Alignment in California
(https://www.liveinalignment.org/), BioMed Scottsdale in Arizona (https://thebiomedcenter.com/), and Energy4Life
Centers in Utah (https://energy4lifecenters.com/).

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US 8,465,408 Claim 12   Infringing Activity




                        https://brainfrequency.ai/overview




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US 8,465,408 Claim 12   Infringing Activity




                        https://brainfrequencydallas.com/welcome1




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US 8,465,408 Claim 12      Infringing Activity




                           https://thebiomedcenter.com/about/#loc_slide1

a means for applying a     Information appearing on Brain Frequency’s website, customer websites,
magnetic field to a        and the TMS manufacturer website/product sheets confirm a first
head of a subject;         processor that controls the application of the magnetic field.
whereby the means for
applying the magnetic
field comprises: a first
processor that controls
the application of the
magnetic field and
wherein the first
processor or a second      https://brainfrequency.ai/patient-faqs
processor moves at
least one of:




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US 8,465,408 Claim 12   Infringing Activity




                        https://brainfrequency.ai/patient-faqs




                        https://brainfrequency.ai/affiliate-program




                        https://brainfrequency.ai/provider-faqs-1




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US 8,465,408 Claim 12   Infringing Activity




                        https://brainfrequency.ai/overview




                        MagPro X100 Product Information Sheet, 03/23/2023.




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US 8,465,408 Claim 12   Infringing Activity




                        “Brain Frequency for Substance Use Disorder” video at Brain Frequency
                        YouTube page: https://www.youtube.com/watch?v=ZT4CgJxgb5c.




                        “Brain Frequency for Substance Use Disorder” video at Brain Frequency
                        YouTube page: https://www.youtube.com/watch?v=ZT4CgJxgb5c.




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US 8,465,408 Claim 12     Infringing Activity
                          MagVenture, 2022 Product Catalog, p. 30.




                          MagVenture, 2022 Product Catalog, p. 33.

                          Customer websites also describe application of frequencies (magnetic
                          fields) to the head of a subject. See screenshots, supra, from
                          https://brainfrequencydallas.com/welcome1.
                          https://energy4lifecenters.com/brain-health/
                          https://thebiomedcenter.com/

                          Customer websites confirm the use of systems that include a processor
                          configured to control the magnetic field (e.g., “brain mapping,” and
                          “brain optimization”). See screenshots, supra, from
                          https://brainfrequencydallas.com/welcome1.
                          https://energy4lifecenters.com/brain-health/
                          https://thebiomedcenter.com/

wherein the first         Information appearing on Brain Frequency’s website confirms an
processor or a second     intrinsic frequency of a brain of the subject in a specified EEG band to a
processor moves at        target intrinsic frequency within the specified EEG band using the
least one of:             magnetic field.

(a) an intrinsic
frequency of a brain of
the subject in a
specified EEG band to
a target intrinsic
frequency within the
specified EEG band
using the magnetic
field;



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US 8,465,408 Claim 12 Infringing Activity
(b) a Q-factor of an
intrinsic frequency of
the brain of the subject
within a specified EEG
band to a target Q-
factor of the intrinsic
frequency using the
magnetic field;

(c) a coherence value
of intrinsic frequencies
among multiple sites in
the brain of the subject
within a specified EEG
band using the
magnetic field wherein
if the coherence value   https://brainfrequency.ai/why-are-we-different%3F-1
is higher than a pre-
selected coherence
value, applying at least
two asynchronous
magnetic fields close to
the head of the subject,
and wherein if the
coherence value is
lower than the pre-
selected coherence
value, applying at least
one synchronized
magnetic field close to
the head of the subject;
and                      https://brainfrequency.ai/why-are-we-different%3F-1

(d) an EEG phase
between two sites in
the brain of the subject
of a specified EEG
frequency using the
magnetic field wherein
the magnetic field
comprises a first
magnetic field that is
in-phase with a second
magnetic field or a
first magnetic field

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US 8,465,408 Claim 12 Infringing Activity
that is out of phase
with a second magnetic
field.




                       https://brainfrequency.ai/eeg-%26-assessments




                       https://brainfrequency.ai/patient-faqs




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                        https://brainfrequency.ai/patient-faqs




                        https://brainfrequency.ai/why-are-we-different%3F-1#c8ee53a4-5885-
                        4b67-9b4c-1f504d8f9653




                        “The EEG uncovers areas of low energy and with that information we
                        can specifically treat 3 or 4 separate areas of the brain with an
                        individual target frequency at each therapy session.”

                        “Treatment Process – Brain Frequency™” video,
                        https://brainfrequency.ai/treatment-process



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US 8,465,408 Claim 12     Infringing Activity
                          The Brain Frequency Center website confirms that the magnetic field is
                          configured to move the first intrinsic frequency in a pre-selected
                          direction, up or down, within the specified EEG band using said
                          magnetic field.




                          https://brainfrequencycenter.com/case-studies/morgan-34-year-old-
                          lawyer-with-ptsd

                          In a podcast, Brain Frequency founder and member Shannon Malish
                          further confirms that the magnetic field is configured to move the first
                          intrinsic frequency in a pre-selected direction, up or down, within the
                          specified EEG band using said magnetic field.

                          See, e.g., Gladden Longevity Podcast, Nov. 2022, “Is this how you fix
                          your brain once and for all?” (in which Ms. Malish explains the
                          development of and treatment of patients using Brain Frequency’s
                          techniques) (available at https://gladdenlongevitypodcast.com/episodes,
                          and https://gladdenlongevitypodcast.com/episodes/f/is-this-how-you-fix-
                          your-brain-once-and-for-all and
                          https://open.spotify.com/episode/1tYFdD61I7dN4nvD7YrKKK?si=ef34f
                          adb30054a80)




US 8,465,408 Claim 20     Infringing Activity
The device of claim 12,   Information appearing on Brain Frequency’s website and on customer
further comprising        websites using the Brain Frequency technology confirms logic that
logic that calculates     calculates information from EEG data collected from the subject within a
information from EEG      specified EEG band, wherein said information comprises at least one of

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US 8,465,408 Claim 20      Infringing Activity
data collected from the    items listed below: (a) the intrinsic frequency; (b) the Q-factor of the
subject within a           intrinsic frequency; (c) the coherence value of intrinsic frequencies; (d)
specified EEG band,        the EEG phase; and (e) any combination thereof.
wherein said
information comprises
at least one of items
listed below: (a) the
intrinsic frequency; (b)
the Q-factor of the
intrinsic frequency; (c)
the coherence value of
intrinsic frequencies;
(d) the EEG phase;
and (e) any
combination thereof.




                           https://brainfrequency.ai/why-are-we-different%3F-1




                           https://brainfrequency.ai/why-are-we-different%3F-1




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US 8,465,408 Claim 20   Infringing Activity




                        https://brainfrequency.ai/eeg-%26-assessments




                        https://brainfrequency.ai/patient-faqs




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US 8,465,408 Claim 20   Infringing Activity




                        https://brainfrequency.ai/patient-faqs




                        https://brainfrequency.ai/why-are-we-different%3F-1#c8ee53a4-5885-
                        4b67-9b4c-1f504d8f9653




                        “The EEG uncovers areas of low energy and with that information we
                        can specifically treat 3 or 4 separate areas of the brain with an
                        individual target frequency at each therapy session.”

                        “Treatment Process – Brain Frequency™” video,
                        https://brainfrequency.ai/treatment-process



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US 8,465,408 Claim 20     Infringing Activity
                          The Brain Frequency Center website confirms that the magnetic field is
                          configured to move the first intrinsic frequency in a pre-selected
                          direction, up or down, within the specified EEG band using said
                          magnetic field.




                          https://brainfrequencycenter.com/case-studies/morgan-34-year-old-
                          lawyer-with-ptsd

                          In a podcast, Brain Frequency founder and member Shannon Malish
                          further confirms logic that calculates information from EEG data
                          collected from the subject within a specified EEG band, wherein said
                          information comprises the intrinsic frequency.

                          See, e.g., Gladden Longevity Podcast, Nov. 2022, “Is this how you fix
                          your brain once and for all?” (in which Ms. Malish explains the
                          development of and treatment of patients using Brain Frequency’s
                          techniques) (available at https://gladdenlongevitypodcast.com/episodes,
                          and https://gladdenlongevitypodcast.com/episodes/f/is-this-how-you-fix-
                          your-brain-once-and-for-all and
                          https://open.spotify.com/episode/1tYFdD61I7dN4nvD7YrKKK?si=ef34f
                          adb30054a80)




US 8,465,408 Claim 21     Infringing Activity
The device of claim 12,   Information appearing on Brain Frequency’s website confirms a first
further comprising: (a)   electrode operable to detect electrical brain activity; and (b) a second
a first electrode         electrode operable to detect a reference signal; wherein the first electrode
operable to detect        is adapted to be located on the subject in at least one of: an area of low

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US 8,465,408 Claim 21       Infringing Activity
electrical brain            electrical resistivity on the subject, and an area with substantially no
activity; and (b) a         electrical impulse interference on the subject, and wherein the second
second electrode            electrode is adapted to be located on the subject.
operable to detect a
reference signal;
wherein the first
electrode is adapted to
be located on the
subject in at least one
of: an area of low
electrical resistivity on
the subject, and an
area with substantially
no electrical impulse
interference on the
subject, and wherein
the second electrode is
adapted to be located
on the subject.


                            https://brainfrequency.ai/why-are-we-different%3F-1




                            https://brainfrequency.ai/eeg-%26-assessments


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US 8,465,408 Claim 21   Infringing Activity




                        https://brainfrequency.ai/patient-faqs




                        https://brainfrequency.ai/patient-faqs




                        https://brainfrequency.ai/why-are-we-different%3F-1#c8ee53a4-5885-
                        4b67-9b4c-1f504d8f9653




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                            US 8,870,737




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    US 8,870,737, Claim 1       Infringing Activity
    A method comprising:        The preamble is not a limitation. To the extent that Defendant asserts
                                that it is a limitation, the evidence appearing on Brain Frequency’s
                                website (brainfrequency.ai) and on customer websites regarding using
                                the Brain Frequency technology confirms that Defendant makes,
                                provides, sells, and induces the infringing use by customers of a method
                                according to claim 1. 5




                                https://brainfrequency.ai/provider-faqs-1




5
 The Brain Frequency website lists “locations” in four states: Gladden Longevity in Texas
(https://www.gladdenlongevity.com/ and https://brainfrequencydallas.com/), Live In Alignment in California
(https://www.liveinalignment.org/), BioMed Scottsdale in Arizona (https://thebiomedcenter.com/), and Energy4Life
Centers in Utah (https://energy4lifecenters.com/).

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US 8,870,737, Claim 1     Infringing Activity




                          https://brainfrequencydallas.com/welcome1

(a) adjusting output of   Information appearing on Brain Frequency’s website, on the TMS
a magnetic field;         manufacturer website/product sheets, and on customer websites confirm
                          adjusting output of a magnetic field.




                          https://brainfrequency.ai/patient-faqs




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US 8,870,737, Claim 1   Infringing Activity




                        https://brainfrequency.ai/patient-faqs




                        https://brainfrequency.ai/affiliate-program




                        https://brainfrequency.ai/provider-faqs-1




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US 8,870,737, Claim 1   Infringing Activity




                        https://brainfrequency.ai/overview




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US 8,870,737, Claim 1   Infringing Activity




                        “Brain Frequency for Substance Use Disorder” video at Brain Frequency
                        YouTube page: https://www.youtube.com/watch?v=ZT4CgJxgb5c.




                        “Brain Frequency for Substance Use Disorder” video at Brain Frequency
                        YouTube page: https://www.youtube.com/watch?v=ZT4CgJxgb5c.




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US 8,870,737, Claim 1     Infringing Activity
                          MagVenture, 2022 Product Catalog, p. 30.




                          MagVenture, 2022 Product Catalog, p. 33.

                          Customer websites also describe adjusting output of a magnetic field.
                          See screenshots, supra, from
                          https://brainfrequencydallas.com/welcome1.
                          https://energy4lifecenters.com/brain-health/
                          https://thebiomedcenter.com/

(b) applying said         Information appearing on Brain Frequency’s website, on the TMS
magnetic field close to   manufacturer website/product sheets, and on customer websites confirm
a head of a subject;      applying said magnetic field close to a head of a subject.
and




                          https://brainfrequency.ai/patient-faqs




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                        https://brainfrequency.ai/patient-faqs




                        https://brainfrequency.ai/affiliate-program




                        https://brainfrequency.ai/provider-faqs-1




                        https://brainfrequency.ai/overview




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US 8,870,737, Claim 1   Infringing Activity




                        MagPro X100 Product Information Sheet, 03/23/2023.




                        “Brain Frequency for Substance Use Disorder” video at Brain Frequency
                        YouTube page: https://www.youtube.com/watch?v=ZT4CgJxgb5c.




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                        “Brain Frequency for Substance Use Disorder” video at Brain Frequency
                        YouTube page: https://www.youtube.com/watch?v=ZT4CgJxgb5c.




                        MagVenture, 2022 Product Catalog, p. 30.




                        MagVenture, 2022 Product Catalog, p. 33.


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US 8,870,737, Claim 1      Infringing Activity
                           Customer websites also describe applying said magnetic field close to a
                           head of a subject. See screenshots, supra, from
                           https://brainfrequencydallas.com/welcome1.
                           https://energy4lifecenters.com/brain-health/
                           https://thebiomedcenter.com/

(c) moving, using the      Information appearing on Brain Frequency’s website and on customer
magnetic field, at least   websites using the Brain Frequency technology confirms moving, using
one of an intrinsic        the magnetic field, an intrinsic frequency of a specified EEG band of the
frequency of a             subject toward a pre-selected intrinsic frequency of the specified EEG
specified EEG band of      band;
the subject toward a
pre-selected intrinsic
frequency of the
specified EEG band
and
a Q-factor of an
intrinsic frequency
within a specified EEG
band of the subject
toward a pre-selected
Q-factor,




                           https://brainfrequency.ai/why-are-we-different%3F-1




                           https://brainfrequency.ai/why-are-we-different%3F-1



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                        https://brainfrequency.ai/eeg-%26-assessments




                        https://brainfrequency.ai/patient-faqs




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US 8,870,737, Claim 1   Infringing Activity




                        https://brainfrequency.ai/patient-faqs




                        https://brainfrequency.ai/why-are-we-different%3F-1#c8ee53a4-5885-
                        4b67-9b4c-1f504d8f9653




                        “The EEG uncovers areas of low energy and with that information we
                        can specifically treat 3 or 4 separate areas of the brain with an
                        individual target frequency at each therapy session.”

                        “Treatment Process – Brain Frequency™” video,
                        https://brainfrequency.ai/treatment-process



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US 8,870,737, Claim 1     Infringing Activity
                          The Brain Frequency Center website confirms moving an intrinsic
                          frequency of a specified EEG band of the subject toward a target intrinsic
                          frequency of the specified EEG band using the magnetic field




                          https://brainfrequencycenter.com/case-studies/morgan-34-year-old-
                          lawyer-with-ptsd

                          In a podcast, Brain Frequency founder and member Shannon Malish
                          further confirms moving, using the magnetic field, an intrinsic frequency
                          of a specified EEG band of the subject toward a pre-selected intrinsic
                          frequency of the specified EEG band.

                          See, e.g., Gladden Longevity Podcast, Nov. 2022, “Is this how you fix
                          your brain once and for all?” (in which Ms. Malish explains the
                          development of and treatment of patients using Brain Frequency’s
                          techniques) (available at https://gladdenlongevitypodcast.com/episodes,
                          and https://gladdenlongevitypodcast.com/episodes/f/is-this-how-you-fix-
                          your-brain-once-and-for-all and
                          https://open.spotify.com/episode/1tYFdD61I7dN4nvD7YrKKK?si=ef34f
                          adb30054a80)

wherein the pre-          Information appearing on Brain Frequency’s website and on customer
selected intrinsic        websites using the Brain Frequency technology confirms the pre-selected
frequency is a            intrinsic frequency is a frequency that increases blood flow in the cortex
frequency that            of the subject, and wherein the pre-selected Q-factor is a Q-factor that
increases blood flow in   increases blood flow in the cortex of the subject.
the cortex of the
subject, and wherein
the pre-selected Q-
factor is a Q-factor

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US 8,870,737, Claim 1   Infringing Activity
that increases blood
flow in the cortex of
the subject.




                        https://brainfrequency.ai/overview




                        “The EEG uncovers areas of low energy and with that information we
                        can specifically treat 3 or 4 separate areas of the brain with an
                        individual target frequency at each therapy session.”

                        “Treatment Process – Brain Frequency™” video,
                        https://brainfrequency.ai/treatment-process

                        Customer websites confirm the use of systems that include decreasing
                        blood flow in a lower region of the brain of the subject (e.g., “computer
                        generated therapeutic intervention,” brain mapping,” and “brain
                        optimization”).




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US 8,870,737, Claim 1   Infringing Activity




                        https://thebiomedcenter.com/about/#loc_slide1

                        See screenshots, supra, from
                        https://brainfrequencydallas.com/welcome1.
                        https://energy4lifecenters.com/brain-health/
                        https://thebiomedcenter.com/




US 8,870,737, Claim 2   Infringing Activity
A method comprising:    The preamble is not a limitation. To the extent that Defendant asserts
                        that it is a limitation, the evidence appearing on Brain Frequency’s
                        website (brainfrequency.ai) and on customer websites regarding using
                        the Brain Frequency technology confirms that Defendant makes,




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    US 8,870,737, Claim 2       Infringing Activity
                                provides, sells, and induces the infringing use by customers of a method
                                according to claim 1. 6




                                https://brainfrequency.ai/provider-faqs-1




6
 The Brain Frequency website lists “locations” in four states: Gladden Longevity in Texas
(https://www.gladdenlongevity.com/ and https://brainfrequencydallas.com/), Live In Alignment in California
(https://www.liveinalignment.org/), BioMed Scottsdale in Arizona (https://thebiomedcenter.com/), and Energy4Life
Centers in Utah (https://energy4lifecenters.com/).

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                          https://brainfrequencydallas.com/welcome1

(a) adjusting output of   Information appearing on Brain Frequency’s website, on the TMS
a magnetic field;         manufacturer website/product sheets, and on customer websites confirm
                          adjusting output of a magnetic field.




                          https://brainfrequency.ai/patient-faqs




                          https://brainfrequency.ai/patient-faqs




                          https://brainfrequency.ai/affiliate-program




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                        https://brainfrequency.ai/provider-faqs-1




                        https://brainfrequency.ai/overview




                        MagPro X100 Product Information Sheet, 03/23/2023.




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US 8,870,737, Claim 2   Infringing Activity




                        “Brain Frequency for Substance Use Disorder” video at Brain Frequency
                        YouTube page: https://www.youtube.com/watch?v=ZT4CgJxgb5c.




                        “Brain Frequency for Substance Use Disorder” video at Brain Frequency
                        YouTube page: https://www.youtube.com/watch?v=ZT4CgJxgb5c.




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                          MagVenture, 2022 Product Catalog, p. 30.




                          MagVenture, 2022 Product Catalog, p. 33.

                          Customer websites also describe adjusting output of a magnetic field.
                          See screenshots, supra, from
                          https://brainfrequencydallas.com/welcome1.
                          https://energy4lifecenters.com/brain-health/
                          https://thebiomedcenter.com/

(b) applying said         Information appearing on Brain Frequency’s website, on the TMS
magnetic field close to   manufacturer website/product sheets, and on customer websites confirm
a head of a subject;      applying said magnetic field close to a head of a subject.
and




                          https://brainfrequency.ai/patient-faqs




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US 8,870,737, Claim 2   Infringing Activity
                        https://brainfrequency.ai/patient-faqs




                        https://brainfrequency.ai/affiliate-program




                        https://brainfrequency.ai/provider-faqs-1




                        https://brainfrequency.ai/overview




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US 8,870,737, Claim 2   Infringing Activity




                        MagPro X100 Product Information Sheet, 03/23/2023.




                        “Brain Frequency for Substance Use Disorder” video at Brain Frequency
                        YouTube page: https://www.youtube.com/watch?v=ZT4CgJxgb5c.




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US 8,870,737, Claim 2   Infringing Activity




                        “Brain Frequency for Substance Use Disorder” video at Brain Frequency
                        YouTube page: https://www.youtube.com/watch?v=ZT4CgJxgb5c.




                        MagVenture, 2022 Product Catalog, p. 30.




                        MagVenture, 2022 Product Catalog, p. 33.


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US 8,870,737, Claim 2      Infringing Activity
                           Customer websites also describe applying said magnetic field close to a
                           head of a subject. See screenshots, supra, from
                           https://brainfrequencydallas.com/welcome1.
                           https://energy4lifecenters.com/brain-health/
                           https://thebiomedcenter.com/

(c) moving, using the      Information appearing on Brain Frequency’s website and on customer
magnetic field, an         websites using the Brain Frequency technology confirms moving, using
intrinsic frequency of a   the magnetic field, an intrinsic frequency of a specified EEG band of the
specified EEG band of      subject toward a pre-selected intrinsic frequency of the specified EEG
the subject toward a       band;
pre-selected intrinsic
frequency of the
specified EEG band,




                           https://brainfrequency.ai/why-are-we-different%3F-1




                           https://brainfrequency.ai/why-are-we-different%3F-1



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US 8,870,737, Claim 2   Infringing Activity




                        https://brainfrequency.ai/eeg-%26-assessments




                        https://brainfrequency.ai/patient-faqs




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US 8,870,737, Claim 2   Infringing Activity




                        https://brainfrequency.ai/patient-faqs




                        https://brainfrequency.ai/why-are-we-different%3F-1#c8ee53a4-5885-
                        4b67-9b4c-1f504d8f9653




                        “The EEG uncovers areas of low energy and with that information we
                        can specifically treat 3 or 4 separate areas of the brain with an
                        individual target frequency at each therapy session.”

                        “Treatment Process – Brain Frequency™” video,
                        https://brainfrequency.ai/treatment-process



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US 8,870,737, Claim 2     Infringing Activity
                          The Brain Frequency Center website confirms moving an intrinsic
                          frequency of a specified EEG band of the subject toward a target intrinsic
                          frequency of the specified EEG band using the magnetic field




                          https://brainfrequencycenter.com/case-studies/morgan-34-year-old-
                          lawyer-with-ptsd

                          In a podcast, Brain Frequency founder and member Shannon Malish
                          further confirms moving, using the magnetic field, an intrinsic frequency
                          of a specified EEG band of the subject toward a pre-selected intrinsic
                          frequency of the specified EEG band.

                          See, e.g., Gladden Longevity Podcast, Nov. 2022, “Is this how you fix
                          your brain once and for all?” (in which Ms. Malish explains the
                          development of and treatment of patients using Brain Frequency’s
                          techniques) (available at https://gladdenlongevitypodcast.com/episodes,
                          and https://gladdenlongevitypodcast.com/episodes/f/is-this-how-you-fix-
                          your-brain-once-and-for-all and
                          https://open.spotify.com/episode/1tYFdD61I7dN4nvD7YrKKK?si=ef34f
                          adb30054a80)

wherein the pre-          Information appearing on Brain Frequency’s website and on customer
selected intrinsic        websites using the Brain Frequency technology confirms the pre-selected
frequency is a            intrinsic frequency is a frequency that decreases blood flow in a lower
frequency that            region of the brain of the subject.
decreases blood flow in
a lower region of the
brain of the subject.



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US 8,870,737, Claim 2   Infringing Activity




                        https://brainfrequency.ai/overview




                        “The EEG uncovers areas of low energy and with that information we
                        can specifically treat 3 or 4 separate areas of the brain with an
                        individual target frequency at each therapy session.”

                        “Treatment Process – Brain Frequency™” video,
                        https://brainfrequency.ai/treatment-process

                        Customer websites confirm the use of systems that include the pre-
                        selected intrinsic frequency is a frequency that decreases blood flow in a
                        lower region of the brain of the subject (e.g., “computer generated
                        therapeutic intervention,” brain mapping,” and “brain optimization”).




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US 8,870,737, Claim 2     Infringing Activity




                          https://thebiomedcenter.com/about/#loc_slide1

                          See screenshots, supra, from
                          https://brainfrequencydallas.com/welcome1.
                          https://energy4lifecenters.com/brain-health/
                          https://thebiomedcenter.com/




US 8,870,737 Claim 3      Infringing Activity
The method of any of      Information appearing on Brain Frequency’s website confirms taking
claims 1 and 2, further   EEG measurements of the subject before the adjusting step or after the
comprising taking         applying step, or both before the adjusting step and after the applying
EEG measurements of       step.
the subject before the
adjusting step or after
the applying step, or

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US 8,870,737 Claim 3       Infringing Activity
both before the
adjusting step and
after the applying step.




                           https://brainfrequency.ai/why-are-we-different%3F-1




                           https://brainfrequency.ai/why-are-we-different%3F-1




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US 8,870,737 Claim 3   Infringing Activity




                       https://brainfrequency.ai/eeg-%26-assessments




                       https://brainfrequency.ai/patient-faqs




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US 8,870,737 Claim 3       Infringing Activity




                           https://brainfrequency.ai/patient-faqs




US 8,870,737 Claim 4       Infringing Activity
The method of any of       Information appearing on Brain Frequency’s website confirms
claims 1 and 2, further    determining at least one of: the subject's intrinsic frequency of the
comprising                 specified EEG band and the subject's Q-factor of an intrinsic frequency
determining at least       within a specified EEG band.
one of: the subject's
intrinsic frequency of
the specified EEG
band and the subject's
Q-factor of an intrinsic
frequency within a
specified EEG band.




                           https://brainfrequency.ai/why-are-we-different%3F-1




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US 8,870,737 Claim 4   Infringing Activity




                       https://brainfrequency.ai/why-are-we-different%3F-1




                       https://brainfrequency.ai/eeg-%26-assessments




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US 8,870,737 Claim 4   Infringing Activity




                       https://brainfrequency.ai/patient-faqs




                       https://brainfrequency.ai/patient-faqs




                       https://brainfrequency.ai/why-are-we-different%3F-1#c8ee53a4-5885-
                       4b67-9b4c-1f504d8f9653




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US 8,870,737 Claim 4   Infringing Activity




                       “The EEG uncovers areas of low energy and with that information we
                       can specifically treat 3 or 4 separate areas of the brain with an
                       individual target frequency at each therapy session.”

                       “Treatment Process – Brain Frequency™” video,
                       https://brainfrequency.ai/treatment-process

                       The Brain Frequency Center website confirms moving an intrinsic
                       frequency of a specified EEG band of the subject toward a target intrinsic
                       frequency of the specified EEG band using the magnetic field




                       https://brainfrequencycenter.com/case-studies/morgan-34-year-old-
                       lawyer-with-ptsd



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US 8,465,408 Claim 8     Infringing Activity
The method of any of     Information appearing on Brain Frequency’s website and on customer
claims 1 and 2,          websites using the Brain Frequency technology confirms applying the
wherein the step of      magnetic field is for about 5 minutes to about two hours.
applying the magnetic
field is for about 5
minutes to about two
hours.




US 8,465,408 Claim 9    Infringing Activity
The method of any of    Information appearing on Brain Frequency’s website confirms repeating
claims 1 and 2, further the applying step after an interval about 6 hours to about 14 days.
comprising repeating
the applying step after
an interval about 6
hours to about 14 days.




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US 8,926,490, Claim 10    Infringing Activity
The method of any of      Information appearing on Brain Frequency’s website confirms locating a
claims 1 and 2, further   first electrode operable to detect electrical brain activity on the subject in
comprising: (a)           at least one of an area of low electrical resistivity on the subject, and an
locating a first          area with substantially no electrical impulse interference on the subject;
electrode operable to     (b) locating a second electrode operable to detect a reference signal on
detect electrical brain   the subject; and (c) determining the intrinsic frequency or the Q-factor or
activity on the subject   both from the electrical brain activity detected by the first electrode and
in at least one of an     the reference signal detected by the second electrode.
area of low electrical
resistivity on the
subject, and an area
with substantially no
electrical impulse
interference on the
subject; (b) locating a
second electrode
operable to detect a
reference signal on the
subject; and (c)
determining the
intrinsic frequency or
the Q-factor or both
from the electrical
brain activity detected
by the first electrode
and the reference
signal detected by the    https://brainfrequency.ai/why-are-we-different%3F-1
second electrode.




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US 8,926,490, Claim 10 Infringing Activity




                        https://brainfrequency.ai/eeg-%26-assessments




                        https://brainfrequency.ai/patient-faqs




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US 8,926,490, Claim 10 Infringing Activity




                          https://brainfrequency.ai/patient-faqs




                          https://brainfrequency.ai/why-are-we-different%3F-1#c8ee53a4-5885-
                          4b67-9b4c-1f504d8f9653




US 8,465,408 Claim 11     Infringing Activity
The method of any of      Information appearing on Brain Frequency’s website confirms the
claims 1 and 2,           method decreases a HAMD score of the subject as measured using a
wherein the method        HAMD rating scale.
decreases a HAMD
score of the subject as
measured using a
HAMD rating scale.




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US 8,465,408 Claim 11   Infringing Activity




                        https://brainfrequency.ai/overview




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US 8,465,408 Claim 11   Infringing Activity




                        https://brainfrequency.ai/overview




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